                       Case 1:25-cr-00051-MSN                              Document 20              Filed 05/23/25           Page 1 of 1 PageID# 118

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                                                                              l●.aster^ Disiriel of Virginia

                                  Uniled Stales orAnieriea
                                                     V.



                                       ANTOINE KASSIS                                                  Case No.    l:25-cr-51
               a/k/a "Toni," "Tony." "Anthony Cassis," "wadad'
                                                                                              )
                                               ih’lnultiiii                                                        'NDHR SEAL,
     2025 MflR OS 17:04
UNITED STftTES MARSHAL                                                        ARREST WARRANT

          o:
                       Aliy authorized law enrorcenieiit olllecr


                       YOU ARK (’OMMANDKl) to arrest and bring bcl’ore a United Slates niagislrale judge widioul unnecessary delay
      lunii     <
                    >jI'i iMiii in /'. iirrcsu'iii   ANTOINE KASSIS a/k/a Toni, Tony. Anthony Cassis, Wadad
     uho is accused ol an olTense or violation based on the following document Hied with the court:

     ^ Indie uneni                          “I Superseding Indiciineni              "I Information        “1 Super.seding Information                    “1 Complaint
     "I        Probation Violation Petition                         “I Supervised Release Violation Petition         “1 Violation Notice                 n Order of the Court

     I his olfen.se is briellv described as follow s:


      Narco-Terrorism Conspiracy, in violation of 21 U.S.C. § 960a; and
     Conspiracy to Provide Material Support or Resources to a Designated Foreign Terrorist Organization,
     in violation of 18 U.S.C. § 2339B.




     Date:               03/05/2025
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     Cilv and slate:                Alexandria, Virginia                                                          J. Lanham, Deputy Clerk
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                       fliis warrant was received on /,/. Hi >                                    . and the person was arrested on hlute
     ai (i in ,iHii Mtiit i                                   v/A

     Dmc:

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